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                                 IN THE UNITED STATES DISTRICT COURT
                                 FOR THE NORTHERN DISTRICT OF TEXAS
                                           DALLAS DIVISION

 GILBERT MEDRANO AND PETER                         §
 ANTHONY GONZALES,                                 §
                                                   §
                     Plaintiffs,                   §
                                                   §    CIVIL ACTION NO. 3:21-cv-2918
 vs.                                               §
                                                   §
 TRUE VALUE COMPANY, L.L.C.,                       §
                                                   §
                     Defendant.                    §
                                                   §
                                                   §

                                   DEFENDANT’S NOTICE OF REMOVAL

         Under 28 U.S.C. §§ 1331, 1441 and 1446, Defendant True Value Company, L.L.C.

(“Defendant”) gives notice that it is removing this civil action from the County Court at Law of

Navarro County, Texas (the “State Court Action”) to the United States District Court for the

Northern District of Texas, Dallas Division. Removal is based on the existence of federal question

jurisdiction, and to support its Notice of Removal, Defendant states:

                                       I.
                   FACTUAL BACKGROUND AND PROCEDURAL HISTORY

         1.        Plaintiffs Gilbert Medrano and Peter Anthony Gonzales (“Plaintiffs”) filed their

Original Petition (“Petition”) in the County Court at Law of Navarro County, Texas, on October

28, 2021. See Exhibit 1, APP. 001-007. The date of service was November 1, 2021. Removal is

proper to this federal district and division because it embraces Navarro County, Texas. See 28

U.S.C. §§ 124(a)(1) & 1446(a). This Notice of Removal is timely because it has been filed within

thirty days after Defendant received a copy of Plaintiffs’ Petition.




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         2.        In accordance with 28 U.S.C. § 1446(a), the concurrently filed Appendix is

incorporated herein and contains true and correct copies of all process, pleadings, and orders served

upon Defendant in the State Court Action to date. See Exhibits 1 through 6, APP 001-023.

         3.        Defendant will also file a Corporate Disclosure Statement that complies with FED.

R. CIV. P. 7.1.

         4.        Defendant will provide prompt written notice of the filing of this Notice of Removal

to Plaintiffs and will file a copy of it with the Navarro County Clerk.

                                               II.
                                 BASIS FOR FEDERAL JURISDICTION

         5.        28 U.S.C. § 1441 allows for the removal of any civil action in a state court over

which the district courts of the United States have original jurisdiction. This Court has original

jurisdiction over this action pursuant to 28 U.S.C. § 1331, which provides that district courts have

original jurisdiction of all civil actions arising under the Constitution, laws, or treatises of the

United States. Removal of this case is based upon claims arising under federal law and involve

federal questions because Plaintiffs bring claims under the Age Discrimination in Employment

Act (“ADEA”). Accordingly, because Plaintiffs pursue a cause of action under a federal statute,

this Court is vested with original subject matter jurisdiction over this action pursuant to 28 U.S.C.

§ 1331.

         6.        Additionally, the Court has supplemental jurisdiction over Plaintiffs’ remaining

claims brought under Texas state law because they are so related to the claims within the Court’s

original jurisdiction that they form part of the same case or controversy under Article III of the

United States Constitution. See 28 U.S.C. § 1367; Clewis v. Medco Health Solutions, Inc., 578 F.

App’x. 469, 470, 472 (5th Cir. 2014) (affirming denial of remand motion where movant brought

discrimination claims under ADA and state anti-discrimination statute as those claims arose from

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the same set of facts). For this reason, this case may be removed to this Court pursuant to 28 U.S.C.

§§ 1441(a) and 1446.

         7.        Removal is proper under 28 U.S.C. § 1331, 1441 and 1446 because Plaintiffs plead

federal question causes of action under the ADEA, a federal statute.

                                                III.
                                              PRAYER

         This Court is vested with original jurisdiction over this matter pursuant to 28 U.S.C. § 1331

because Plaintiffs pursue a cause of action under a federal statute. Thus, removal of this action is

proper. Accordingly, Defendant respectfully requests that this Court assume jurisdiction over this

action and proceed with handling this action as if it was filed initially in the United States District

Court for the Northern District of Texas, Dallas Division.




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 Dated: November 22, 2021                       Respectfully submitted,



                                                /s/ Jeremy W. Hawpe
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                                                ATTORNEYS FOR DEFENDANTS


                                    CERTIFICATE OF SERVICE

      On November 22, 2021, I electronically submitted the foregoing document with the clerk
of court for the U.S. District Court, Northern District of Texas and electronically served same,
using the Case Management/Electronic Case Filing (CM/ECF) system of the Court, which will
send a notice of electronic filing to the following counsel of record:

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                                                   /s/ Jeremy W. Hawpe
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